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MIDDLE DISTRICT oF FLoRlDA CLEM' U's- DISTKIC'TCGL.-'zvr

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JOHN LANE

Plaintii`f, CASE NO‘: *w‘_ l[Q,CJ _ ‘U{@[%_O\Z(; '?.-ZTB§

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BLUESTEM BRANDS, INC., dfb)'a
FINGERHU'I`,

Defendant.

COMPLAINT

COMES NOW Plaintiff, .lohn Lane, by and through the undersigned eounsel, and
sues Dei`enclant, Bluestem Brands, Inc., dfb!a Fingerhut (“Fingerhul”) and in support
thereof respectfully alleges violations of the Telephone Consumer Protection Act, 4';'
U.S.C. § 227 et seq. (“TCPA") and the Florida Consumer Collection Practices Act, Fla.
Stat. § 559.55 et seq. (“FCCPA”).

INTRODUCTION

l. The TCPA was enacted to prevent companies like Fingerhut from
invading American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls." Mz'ms v. Arrow Fr`r.'. Servs., LLC, -US--, 132
S.Ct., 740, 745, lSl, L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s Sponsor, described these calls as ‘the

*1256 scourge of modern civilization, they wake us up in the moming; they interrupt our

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dinner at night; they force the sick and elderly out of bed; they hound us until we want to
rip the telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings
presumably intended to give telephone subscribers another option: telling the autodialers
to simply stop calling." Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (llth Cir.
2014).

4. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. Thcre are thousands
of complaints to the FCC every month on both telemarketing and robocalls. 'I`hc FCC
received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal
to Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless

Phones, Federal Communications Commission, (May 27, 201 5),

http://transition.fcc.gov/Daily Releases/Dain Business/ZOIS/db0527/DOC-

333676Al .gdf.
JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

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Constitution, laws, or treaties of the United States; and this action involves violations of
47 U.S.C. § 227(b)(l)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (l llh Cir. 2014)

8. The alleged violations described herein occurred in Orange County.
Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2) as it is the
judicial district in which a substantial part of the events or omissions giving rise to this
action occurred.

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Orange County, Florida.

10. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

l l. Plaintiff is an “alleged debtor.”

12. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (11"' cir. 2014) and osorio v. Szare Farm Bank, F.s.B., 746 F.3d 1242 (11"‘
Cir. 2014).

13. Defendant, Fingerhut, is a corporation formed in Delaware with its
principal place of business located at 6509 Flying Cloud Dr., Eden Prairie, MN 55344
and which conducts business in the State of Florida,

l4. The debt that is the subject matter of this Complaint is a “consumer debt”
as defined by Florida Statute §559.55(6).

15. Fingerhut is a “creditor” as defined in Florida Statute §559.55(5).

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16. Fingerhut called Plaintiff on Plaintift’s cellular telephone approximately
two hundred and seventy five (275) times since July l, 2016 in an attempt to collect a
debt.

17. Fingerhut attempted to collect an alleged debt ii‘om Plaintiff by this
campaign of telephone calls.

18. Upon information and belief, some or all of the calls the Defendant made
to Plaintiff s cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(l) (hereinaiter “autodialer calls”). Plaintiff will testify that he knew it was an
autodialer because of the vast number of calls he received, because he received
prerecorded messages from Fingerhut and because before an agent of Fingerhut came on
the line, there was a noticeable pause.

19. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (407)***-1880, and was the called party and recipient of Defendant’s calls.

20. Beginning on or about July 2016, Plaintiff began receiving telephone calls
to his aforementioned cellular telephone number from Fingerhut, Plaintiffs caller ID
identified the calls were being initiated from, but not limited to, the following phone
numbers: (866) 625-7191 and (855) 895-3392.

21. In or about the middle of July 2016, Plaintiff began receiving telephone

calls to his aforementioned cellular telephone number from Fingerhut seeking to recover

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an alleged debt. Plaintiff answered several calls from Fingerhut and demanded that they
stop calling his cellular telephone number.

22. In or about the end of August 2016, Plaintiff once more demanded
Fingerhut’s agent he wished for the calls to stop. Plaintiff explained to representative that
they had called over 200 times, and he would hire an attorney if calls continued.

23. Despite Plaintiff clearly and unequivocally revoking any express
permission Fingerhut may have had to call him on his cellular telephone, Fingerhut
continued to call his phone with automated messages

24. Due to the amount of automated calls Plaintiff received from Fingerhut to
his cellular telephone, he was not able to properly catalogue each and every one;
however, attached hereto as Exhibit “A” is a small sampling of the calls Plaintiff
received.

25. Fingerhut has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s
cellular telephone in this case.

26. Fingerhut has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice just as it did to Plaintift’s cellular telephone in
this case, with no way for the consumer, Plaintiff, or Fingerhut, to remove the number.

27. Fingerhut’s corporate policy is structured so as to continue to call
individuals like Plaintiff, despite these individuals explaining to Fingerhut they wish for

the calls to stop.

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28. Fingerhut has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint.

29. Fingerhut has numerous complaints across the country against it asserting
that its automatic telephone dialing system continues to call despite requested to stop.

30. Fingerhut has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to call the
consumers

31. Fingerhut’s corporate policy provided no means for Plaintiff to have his
number removed from Defendant’s call list.

32. Fingerhut has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called,

33. Not a single call placed by Fingerhut to Plaintiff were placed for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(l)(A).

34. Fingerhut willfully and/or knowingly violated the TCPA with respect to
Plaintiff,

35. From each and every call placed without consent by Fingerhut to
Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion
upon his right of seclusion.

36. From each and every call without express consent placed by Fingerhut to
Plaintiff’s cell phone, Plaintiff suffered the injury of occupation of his cellular telephone
line and cellular phone by unwelcome calls, making the phone unavailable for legitimate

callers or outgoing calls while the phone was ringing from Fingerhut’s calls.

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37. From each and every call placed without express consent by Fingerhut to
Plaintiff s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time.
For calls he answered, the time he spent on the call was unnecessary as he repeatedly
asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to
unlock the phone and deal with missed call notifications and call logs that reflected the
unwanted calls This also impaired the usefulness of these features of Plaintiff’s cellular
phone, which are designed to inform the user of important missed communications

38. Each and every call placed without express consent by Fingerhut to
Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.
For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering
them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal
with missed call notifications and call logs that reflected the unwanted calls. This also
impaired the usefulness of these features of Plaintiffs cellular phone, which are designed
to inform the user of important missed communications

39. Each and every call placed without express consent by Fingerhut to
Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiffs cell
phone’s battery power.

40. Each and every call placed without express consent by Fingerhut to
Plaintiff’s cell phone where a voice message was left which occupied space in Plaintiff’s

phone or network.

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41. Each and every call placed without express consent by Fingerhut to
Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely his
cellular phone and his cellular phone services

42. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affect in a personal and individualized way by stress and
trouble sleeping.

M
(Violation of the TCPA)

43. Plaintiff fully incorporates and realleges paragraphs one (l) through forty
two (42) as if fully set forth herein.

44. Fingerhut willfully violated the TCPA with respect to Plaintiff, especially
for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff
notified Fingerhut that he wished for the calls to stop.

45. Fingerhut repeatedly placed non-emergency telephone calls to Plaintiff"s
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiff’s prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Fingerhut for statutory damages, punitive damages, actual
damages, treble damages, enjoinder from further violations of these parts and any other

such relief the court may deem just and proper.

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COUNT II
(Violation of the FCCPA)

46. Plaintiff fully incorporates and realleges paragraphs one (l) through forty
two (42) as if fully set forth herein

47. At all times relevant to this action Fingerhut is subject to and must abide
by the laws of the State of Florida, including Florida Statute § 559.72.

48. Fingerhut has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of his or her family with such frequency
as can reasonably be expected to harass the debtor or his or her family.

49. Fingerhut has violated Florida Statute § 559.72(7) by willfully engaging in
other conduct which can reasonably be expected to abuse or harass the debtor or any
member of his or her family.

50. Fingerhut’s actions have directly and proximately resulted in Plaintiff’s
prior and continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Fingerhut for statutory damages punitive damages, actual
damages, costs, interest, attorney fees, enjoinder from further violations of these parts and

any other such relief the court may deem just and proper.

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Respectfully. sub i ed,

 

 

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